Case 3:05-cr-00024-LC   Document 86   Filed 06/16/05   Page 1 of 7
Case 3:05-cr-00024-LC   Document 86   Filed 06/16/05   Page 2 of 7
Case 3:05-cr-00024-LC   Document 86   Filed 06/16/05   Page 3 of 7
Case 3:05-cr-00024-LC   Document 86   Filed 06/16/05   Page 4 of 7
Case 3:05-cr-00024-LC   Document 86   Filed 06/16/05   Page 5 of 7
Case 3:05-cr-00024-LC   Document 86   Filed 06/16/05   Page 6 of 7
Case 3:05-cr-00024-LC   Document 86   Filed 06/16/05   Page 7 of 7
